                        3:11-cv-03134-SEM-TSH # 99          Page 1 of 2
                                                                                               E-FILED
                                                           Monday, 08 December, 2014 03:20:27 PM
                                                                      Clerk, U.S. District Court, ILCD

                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS
                               SPRINGFIELD DIVISION

MICHAEL MOORE, CHARLES HOOKS,                      )
PEGGY FECHTER, JON MAIER, SECOND                   )
AMENDMENT FOUNDATION, INC., and                    )
ILLINOIS CARRY,                                    )
                                                   )
                              Plaintiffs,          )
                                                   )
                       v.                          )      Case No. 3:11-CV-3134
                                                   )
LISA MADIGAN, in her official capacity as          )
Attorney General of the State of Illinois, and     )
HIRAM GRAU, in his official capacity as            )
Director of the Illinois State Police,             )
                                                   )
                        Defendants.                )
________________________________________           )

                                      NOTICE OF APPEAL

       Notice is hereby given that Plaintiffs MICHAEL MOORE, CHARLES HOOKS, PEGGY

FECHTER, JON MAIER, SECOND AMENDMENT FOUNDATION, INC. and ILLINOIS

CARRY hereby appeal to the United States Court of Appeals for the Seventh Circuit from the

Opinion of November 24, 2014, on Plaintiffs’ motion for attorney fees (Dkt. 96) and from the

Judgment entered thereon (Dkt. 97).


Dated: December 8, 2014                            Respectfully submitted,

                                                          /s/ David G. Sigale
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                                                   Attorneys for Plaintiffs
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      CERTIFICATE OF ATTORNEY AND NOTICE OF ELECTRONIC FILING

The undersigned certifies that:

       1.      On December 8, 2014, the foregoing document was electronically filed with the
               District Court Clerk via CM/ECF filing system;

       2.      Pursuant to F.R.Civ.P. 5, the undersigned certifies that, to his best information
               and belief, there are no non-CM/ECF participants in this matter.


                                                     /s/ David G. Sigale
                                              One of the Attorneys for Plaintiffs
